

People v Goodson (2024 NY Slip Op 00684)





People v Goodson


2024 NY Slip Op 00684


Decided on February 08, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2024

Before: Manzanet-Daniels, J.P., Kern, Friedman, O'Neill Levy, Michael, JJ. 


Ind. No. 4017/17 Appeal No. 1607 Case No. 2019-5238 

[*1]The People of the State of New York, Respondent,
vIsaiah Goodson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katherine M.A. Pecore of counsel), for appellant.



Judgment, Supreme Court, New York County (Juan Merchan, J.), rendered April 12, 2019, convicting defendant, upon his plea of guilty, of robbery in the second degree, and sentencing him to a term of 3½ years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2024








